     3:21-cv-02328-SAL         Date Filed 09/02/22       Entry Number 23        Page 1 of 21




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

Jimmie Lucas and Clarence Wilson         )            C/A No. 3:21-cv-02328-SAL
                                         )
                             Plaintiffs, )
                                         )
v.                                       )            ORDER
                                         )
United Parcel Service, Inc.,             )
                                         )
                                         )
                                         )
                             Defendant.  )
___________________________________ )

    This matter is before the court on Defendant United Parcel Service’s Motion to Dismiss [ECF

No. 15]. For the reasons set forth in detail below, the court GRANTS Defendant’s motion.

                     FACTUAL AND PROCEDURAL BACKGROUND 1

    In this action, Jimmie Lucas and Clarence Wilson (“Plaintiffs”) seek to recover damages from

United Parcel Service (“Defendant”) for unpaid wages. Defendant employs both Plaintiffs as

drivers and has done so for decades. [ECF No. 1-1, ⁋⁋ 7, 8]. Plaintiffs work at a facility located at

124 Creekside Road, West Columbia, SC 29172. Id. ⁋ 9. As union members of the International

Brotherhood of Teamsters, Local Chapter 509, Plaintiffs are subject to a collective-bargaining

agreement (“CBA”) that governs the terms of their employment, including grievance procedures

and compensation. Id. ⁋⁋ 13–15; see also [ECF Nos. 15-3, 15-4, 15-5]. Plaintiff Lucas has served

as the union shop steward for almost thirty-four years. [ECF No. 1-1, ⁋ 13].




1
  Plaintiffs’ Amended Complaint contains errors with respect to the paragraph numbering. The
numbering goes from 1 to 45 and then, instead of continuing to 46, goes from 25 to 34. See
generally [ECF No. 1-1]. For the sake of clarity, the court will cite to the paragraph number used
in the Amended Complaint but will also provide a page number for the incorrectly numbered
sections.
                                                 1
      3:21-cv-02328-SAL         Date Filed 09/02/22       Entry Number 23       Page 2 of 21




   Plaintiffs allege Defendant fails to pay its drivers at the West Columbia location for all of the

hours they work each day. Id. ⁋ 9. Specifically, Plaintiffs claim Defendant neglects to pay them

for equipment preparation which entails both “start work time” and “conclusion of work time.” Id.

⁋ 10. Start work time includes the first half hour of each workday and entails building and pre-

staging the loads that the drivers deliver. Id. Conclusion of work time includes the time it takes to

return to the facility and to complete and turn in the mileage sheet to the dispatch office. Id.

Defendant requires Plaintiffs to punch in with a timeclock and perform these mandatory duties,

despite allegedly not paying Plaintiffs for this time. Id. ⁋ 11.

   Plaintiffs sought to correct this pay discrepancy through the mandatory grievance procedures

outlined in the CBA, including filing more than 83 grievances apiece. Id. ⁋⁋ 14, 15. According to

Plaintiffs, they exhausted their rights under their CBA “including but not limited to a deadlocked

national panel between March 9-12, 2020.”. Id. ⁋ 14. After the national panel deadlocked,

Plaintiffs’ Union submitted their grievances to arbitration as provided in the CBA. [ECF No. 15-

6]. On November 10, 2020, the arbitrator ruled against the Union and found that “[i]n the absence

of a side agreement, [Defendant’s] management was free to apply the Article 43 Guidelines [of

the CBA] at the Columbia Air Hub.” Id. at p. 10.

   After filing one of their grievances on February 26, 2019, labor managers told Plaintiffs they

were being paid correctly and their grievance was moot. Id. ⁋ 16. Plaintiffs admit “[f]or a brief

time around that time” Defendant correctly paid them for all of their time but has since stopped.

Id. This unpaid compensation allegedly totals approximately $12,929.60 for Plaintiff Lucas and

$15,220.55 for Plaintiff Wilson. Id. ⁋ 17.

   Plaintiffs both allege repeated instances of threats made by management and Defendant’s

representatives following their grievances. Id. ⁋ 18. They claim they suffered retaliatory conduct



                                                   2
     3:21-cv-02328-SAL         Date Filed 09/02/22      Entry Number 23        Page 3 of 21




including suspensions and a “working termination.” Id. ⁋⁋ 20–26. Specifically, on the morning of

May 18, 2021, one of their supervisors, Haven Holmes, called them into the office and warned

them to stop including time entries on their mileage sheets for “time they were working on the

clock.” Id. ⁋ 21. Plaintiffs allege that Jimmy Forback, the Feeder Manager, instructed Holmes to

give them that warning. Id. A few days after that discussion, Plaintiffs received warning letters in

the mail regarding their time entries. Id. The morning after their initial meeting with Holmes,

Plaintiffs were again called into his office and, at the behest of Forback, were issued a 3-day

suspension. Id. ⁋ 22. This suspension did not take effect immediately, and its implementation was

“to be determined.” Id.

   Exactly one week later, on May 25, 2021, the Plaintiffs were told they were terminated. Id. ⁋

23. However, like their suspension, this termination did not take effect immediately and its

implementation “was to be determined.” Id. To avoid termination for insubordination, Plaintiffs

agreed to cease submitting the disputed time, but they continued to keep their own personal

records. Id. Forback informed Plaintiffs “if [they] followed instructions and stopped putting the

entries of when they were working on the sheets then everything would be just fine.” Id. ⁋ 24.

Plaintiffs claim they were closely watched and feared termination, resulting in emotional distress

which impacts their professional and personal lives. Id. ⁋⁋ 24, 26.

   On July 7, 2021, Plaintiffs filed this action in the Court of Common Pleas Eleventh Judicial

Circuit in Lexington County, South Carolina. [ECF No. 1-1]. Plaintiffs brought five claims—two

federal claims brought under the Fair Labor Standards Act (“FLSA”), one state law statutory claim

brought under the South Carolina Payment of Wages Act (“SCPWA”), and two state common law

theories of promissory estoppel and quantum meruit. Id. Following service, Defendant timely

removed the action to this court on July 28, 2021. [ECF No. 1]. Less than a month later on August



                                                 3
     3:21-cv-02328-SAL           Date Filed 09/02/22     Entry Number 23        Page 4 of 21




25, 2021, Defendant filed its Answer to Plaintiffs’ Amended Complaint. [ECF No. 7]. Defendant

then filed its Motion to Dismiss on November 9, 2021. [ECF No. 15]. Plaintiffs responded on

November 17, 2021, ECF No. 16, and Defendant filed a Reply on December 13, 2021, ECF No.

19. Therefore, the matter is fully briefed and ripe for review.

                                      LEGAL STANDARD

I. Standard Under Rule 12(b)(1)

   Motions to dismiss under Federal Rule of Civil Procedure 12(b)(1) require the court to

determine whether it has jurisdiction to adjudicate the matter before it. Fed. R. Civ. P. 12(b)(1);

see Hoblick v. United States, 526 F. Supp. 3d 130, 132 (D.S.C. 2021) (citing Arbaugh v. Y & H

Corp., 546 U.S. 500, 507 (2006)). “When a Rule 12(b)(1) motion challenge is raised to the factual

basis for subject matter jurisdiction, the burden of proving subject matter jurisdiction is on the

plaintiff.” Richmond, Fredericksburg & Potomac R. Co. v. United States, 945 F.2d 765, 768 (4th

Cir. 1991) (citing Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982)). Motions to dismiss for

lack of subject matter jurisdiction “can arise in two ways: (1) when the moving party maintains

that the complaint ‘fails to allege facts upon which subject matter jurisdiction can be based’ or (2)

when the moving party maintains that the jurisdictional allegations within the complaint are not

true.” McElveen v. Cincinnati Ins. Co., 422 F. Supp. 3d 1068, 1073 (D.S.C. 2019) (quoting Adams,

697 F.2d at 1219). Courts analyze the first type of dismissal motion with a standard similar to that

of a motion made under Federal Rule 12(b)(6) and analyze the second type of dismissal motion

with a standard similar to that of a summary judgment motion. See Kerns v. United States, 585

F.3d 187, 193 (4th Cir. 2009).




                                                  4
      3:21-cv-02328-SAL          Date Filed 09/02/22       Entry Number 23         Page 5 of 21




II. Standard Under Rule 12(c) and 12(b)(6) 2

    Federal Rule of Civil Procedure 12(c) provides “[a]fter the pleadings are closed—but early

enough not to delay trial—a party may move for judgment on the pleadings.” Ultimately, “a

defendant may not prevail on a motion for judgment on the pleadings if there are pleadings that, if

proved, would permit recovery for the plaintiff.” BET Plant Servs., Inc. v. W.D. Robinson Elec.

Co., 941 F. Supp. 54, 55 (D.S.C. 1996). “[A] Rule 12(c) motion for judgment on the pleadings is

decided under the same standard as a motion to dismiss under Rule 12(b)(6).” Deutsche Bank Nat’l

Trust Co. v. IRS, 361 F. App’x 527, 529 (4th Cir. 2010); see Burbach Broad. Co. v. Elkins Radio,

278 F.3d 401, 405 (4th Cir. 2002).

    To survive a Rule 12(b)(6) motion to dismiss, the “complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “The

plausibility standard is not akin to a probability requirement, but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Id. Thus, in order to survive a dismissal motion,

the complaint must contain sufficient facts “to raise a right to relief above the speculative level”

and “state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 555. In reviewing

the complaint, the court accepts all well-pleaded allegations as true and construes the facts and




2
 Defendant purports to bring its dismissal motion pursuant to Rule 12(b)(6). Federal Rule 12(b)(6)
provides a party may move to dismiss for “failure to state a claim upon which relief can be
granted.” Fed. R. Civ. P. 12(b)(6). However, after the pleadings close, parties may move to dismiss
for a failure to state a claim under Rule 12(c). Fed. R. Civ. P. 12(c); see Fed. R. Civ. P. 12(h)(2)(B)
(providing parties can move to dismiss a complaint for failing to state a claim upon which relief
can be granted under Rule 12(c)). Defendant filed its Answer, ECF No. 7, on August 25, 2021,
and then moved to dismiss under Rule 12(b)(6), ECF No. 15, almost three months later on
November 9, 2021. Because the pleadings have closed, the court considers Defendant’s dismissal
motion under Rule 12(c), which is governed by an identical standard. See Deutsche Bank Nat’l
Trust Co. v. IRS, 361 F. App’x 527, 529 (4th Cir. 2010).
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     3:21-cv-02328-SAL          Date Filed 09/02/22      Entry Number 23       Page 6 of 21




reasonable inferences derived therefrom in the light most favorable to the plaintiff. Venkatraman

v. REI Sys., Inc., 417 F.3d 418, 420 (4th Cir. 2005). “When there are well-pleaded factual

allegations, a court should assume their veracity and then determine whether they plausibly give

rise to an entitlement to relief.” Ashcroft, 556 U.S. at 662.

                                          DISCUSSION

   The court begins by addressing Defendant’s jurisdictional argument before turning to examine

whether Plaintiffs state plausible FLSA claims upon which relief may be granted. Last, the court

addresses Plaintiffs’ state law claims.

I. Defendant’s Motion to Dismiss Under Rule 12(b)(1)

   In its dismissal motion, Defendant argues the court lacks jurisdiction over Plaintiffs’ claims

because they fall exclusively under federal labor law and mandatory grievance procedures govern

the CBA’s interpretation. [ECF No. 15-1, p. 13]. Defendant contends Plaintiffs’ claims were

already addressed during prior arbitration, and the prior litigation precludes jurisdiction in this

court. At issue before the arbitration panel was whether, under the terms of the CBA, start work

and finish work is separately compensable or is covered by the mileage rate Plaintiffs are paid.

[ECF No. 15-6, p. 4].

   Here, however, Plaintiffs bring distinct statutory claims under FLSA that have not been

previously arbitrated. Plaintiffs heavily rely on the Supreme Court’s decision in Barrentine v.

Arkansas-Best Freight Sys. Inc., 450 U.S. 728 (1981), to support its position that prior arbitration

of a CBA does not preclude an employee from later bringing statutory claims under FLSA. There,

the Supreme Court held the plaintiffs’ prior submission of their grievance to the contractually

required dispute-resolution process did not bar their statutory claims because “Congress intended

to give individual employees the right to bring their minimum-wage claims under the FLSA in



                                                  6
      3:21-cv-02328-SAL         Date Filed 09/02/22      Entry Number 23         Page 7 of 21




court . . . because these congressionally granted FLSA rights are best protected in a judicial rather

than in an arbitral forum[.]” Id. at 745. If the parties had agreed in the CBA to arbitrate statutory

claims, then Defendant’s jurisdictional argument would have merit. See 14 Penn Plaza LLC v.

Pyett, 556 U.S. 247, 263 (2009) (discussing the limited extent of Barrentine’s holding).

   Despite the similar nature of the claims put forth in the arbitration and this case, the court finds

that it has jurisdiction and DENIES Defendant’s dismissal motion to the extent it requires

dismissal under Rule 12(b)(1). The court agrees that Plaintiffs can assert statutory claims under

FLSA. The question then becomes: Have Plaintiffs stated plausible FLSA claims upon which relief

can be granted?

II. Defendant’s Motion for Judgment on the Pleadings Under Rule 12(c)

   Having found that it has jurisdiction to adjudicate Plaintiffs’ claims, the court must next

determine whether Plaintiffs state plausible claims upon which relief may be granted. The court

first addresses the scope of its consideration.

   A. What Evidence May the Court Consider?

   Defendant attached nine documents to its dismissal motion—one declaration and eight

supporting exhibits (Exhibits A through H). See [ECF Nos. 15-2, 15-3, 15-4, 15-5, 15-6, 15-7, 15-

8, 15-9, 15-10]. These documents include an excerpt of the CBA (Exhibit A), an excerpt of the

Supplemental Agreement to the CBA (Exhibit B), Article 43 outlining pay for premium services

of UPS Mileage Layover, City Pair and Sleeper Team Drivers (Exhibit C), the Arbitration Decision

(Exhibit D), Plaintiff Lucas’ NLRB Charge (Exhibit E), the Charge’s dismissal (Exhibit F), the

Denial of Appeal of the Charge dismissal (Exhibit G), and excerpts from the arbitration transcript

(Exhibit H).




                                                  7
     3:21-cv-02328-SAL         Date Filed 09/02/22       Entry Number 23        Page 8 of 21




   In their Response, Plaintiffs do not challenge Defendant’s claim they intentionally avoided

mentioning any of these documents in an attempt to avoid dismissal. Instead, Plaintiffs merely

argue “[t]he Court should not consider any of the exhibits attached to Defendant’s Memorandum,

and Defendant’s arguments that accompany such exhibits, at this stage of the proceedings.” [ECF

No. 16, p. 7]. According to Plaintiffs, considering such documents would convert Defendant’s

dismissal motion to a motion for summary judgment, and such conversion is inappropriate because

the parties have not had adequate time for discovery. Id. For a number of reasons, the court

disagrees.

   There are certain circumstances where courts may properly consider extrinsic evidence at the

dismissal stage. Documents attached to a pleading are considered a part of that pleading for all

purposes. Fed. R. Civ. P. 10(c); see also Philips v. Pitt Cnty. Mem. Hosp., 572 F.3d 176, 180 (4th

Cir. 2009) (asserting courts “may also consider Documents attached to the complaint . . ., as well

as those attached to the motion to dismiss, so long as they are integral to the complaint and

authentic”); Phillips v. LCI Int’l, Inc., 190 F.3d 609, 618 (4th Cir. 1999) (deciding the same).

Courts may consider documents not included in a complaint but attached to a motion to dismiss

“when the document is ‘integral to and explicitly relied on in the complaint,’ and when ‘the

plaintiffs do not challenge [the document’s] authenticity.’” Zak v. Chelsea Therapeutics Int’l, Ltd.,

780 F.3d 597, 606–07 (4th Cir. 2015) (quoting Am. Chiropractic Ass’n v. Trigon Healthcare, Inc.,

367 F.3d 212, 234 (4th Cir. 2004)).

   The rationale behind this exception is when plaintiffs have “actual notice of all the information

in the movant’s papers and [have] relied upon these documents in framing the complaint the

necessity of translating a [dismissal motion] into one under Rule 56 is largely dissipated.” Cortec

                                                 8
     3:21-cv-02328-SAL          Date Filed 09/02/22      Entry Number 23         Page 9 of 21




Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 48 (2d Cir. 1991). Particularly, when plaintiffs fail

“to include matters of which as pleaders they had notice and which were integral to their claim,”

such a failure “may not serve as a means of forestalling the district court’s decision on the motion.”

Id. at 44; see also Canal+ Image UK Ltd. v. Lutvak, 773 F. Supp. 2d 419, 427 (S.D.N.Y. 2011)

(“A plaintiff cannot avoid the Court’s consideration of a document simply by failing to explicitly

reference it.” (citing RBS Holdings, Inc. v. Wells Fargo Century, Inc., 485 F. Supp. 2d 472, 477

(S.D.N.Y. 2007)) (cleaned up)). If a court were to forego consideration of a relied upon, but not

explicitly included document “a plaintiff with a legally deficient claim could survive a motion to

dismiss simply by failing to attach a dispositive document on which it relied.” Pension Ben. Guar.

Corp., 998 F.2d at 1196 (citing Goodwin v. Elkins & Co., 730 F.2d 99, 113 (3d Cir.), cert denied,

469 U.S. 831 (1984)). Accordingly, if Plaintiffs relied on any of the documents attached to

Defendant’s dismissal motion, and those documents are integral to their claims, the court may

properly consider them so long as they are authentic.

   In their Amended Complaint, Plaintiffs acknowledge they are members of the International

Brotherhood of Teamsters, Local Chapter 509 and they are subject to its collective-bargaining

agreement with Defendant. [ECF No. 1-1, ⁋⁋ 13, 14]. Seeking corrections to their allegedly

incorrect pay, Plaintiffs filed more than 83 separate grievances. Id. ⁋ 15. Further, Plaintiffs allege

they “have exhausted their rights under their collective bargaining agreement, including but not

limited to a deadlocked national panel between March 9-12, 2020.” Id. ⁋ 14 (emphasis added).

   These two claims—that Plaintiffs participated in a deadlocked national panel and exhausted

their rights under the CBA—are significant because they show Plaintiffs’ reliance on the

documents constituting the CBA (Exhibits A, B, and C) and prior arbitration which resolved the

                                                  9
     3:21-cv-02328-SAL           Date Filed 09/02/22      Entry Number 23        Page 10 of 21




parties’ contractual dispute (Exhibits D and H). At this stage of the litigation, the court is required

to accept both statements as true. Considering the CBA provides a process through which either

party may bring a grievance to arbitration following a deadlocked national panel, and the Plaintiffs’

claim they exhausted their rights under the CBA, the court finds they indicate their submission of

their grievances to arbitration, thus successfully exhausting their rights under the CBA. See

generally [ECF No. 15-4]. By providing they unsuccessfully exhausted their rights under the CBA,

Plaintiffs suggest judicial resolution is the only means left to vindicate their claims. This

necessarily indicates their reliance on the failed grievance process, including the prior arbitration,

when crafting their Amended Complaint.

    Furthermore, the court finds the CBA and the subsequent arbitration are integral to Plaintiffs’

claims. Plaintiffs filed their union grievances “seeking correct wage payment” under the CBA.

[ECF No. 1-1, ⁋ 15]. Now, Plaintiffs seek correct wage payment for allegedly unpaid wages under

FLSA. Id. ⁋⁋ 28–35. Even though the nature of the claims differs (contractual versus statutory),

the underlying basis is the same—Defendant is allegedly underpaying its drivers. Consequently,

the document setting Plaintiffs’ compensation (the CBA) and its subsequent interpretation in

arbitration is surely integral to Plaintiffs’ claims. 3

    Last, the Plaintiffs do not challenge the authenticity of these documents nor deny Defendant’s

accusation they intentionally omitted them in their Amended Complaint to mislead the court.

Accordingly, the court determines that it may consider Exhibits A, B, C, D, and H because

Plaintiffs relied on them in their Amended Complaint, they are integral to their unpaid overtime


3
  Similarly, because Plaintiffs base their retaliation claim on their actions seeking correct wage
payment through the grievance procedure outlined in the CBA, the court finds that it may consider
the CBA and arbitration documents provided by Defendant when addressing that claim.

                                                    10
     3:21-cv-02328-SAL          Date Filed 09/02/22       Entry Number 23         Page 11 of 21




wages and retaliation claims, they had notice of the documents as parties to the grievance

procedures, and neither party challenges the authenticity of the Exhibits. 4 In contrast, Plaintiffs

fail to mention the NLRB Charge, the Board’s dismissal of the Charge, and Plaintiff Lucas’

ultimate appeal of the dismissal in their Amended Complaint. Further, the NLRB litigation is not

integral to Plaintiffs’ claims, as it only indicates Plaintiffs’ disagreement with the arbitration’s

outcome and does not relate to the substance of their grievances. Therefore, the court will not

consider exhibits E, F, and G. And finally, the court considers the Declaration of Lester Grant only

to the extent it identifies Exhibits A, B, C, D, and H.

    B. Plaintiff’s Federal Law Claims

       1. Plaintiffs Fail to Plead Unpaid Overtime Compensation Claim Under FLSA

    We know from the Arbitration Decision, ECF No. 15-6, the contract issue was resolved. The

arbitrator ruled the mileage rate included the start and finish work, and this work is not separately

compensable absent a side agreement. Of course, this court is bound by that ruling as to that issue.

But Plaintiffs are entitled to seek redress for FLSA violations if they can state a plausible claim.

    Despite the low threshold required to survive dismissal, Plaintiffs simply do not state a

plausible overtime claim under FLSA. Section 207 of FLSA provides

       Except as otherwise provided in this section, no employer shall employ any of his
       employees who in any workweek is engaged in commerce or in the production of
       goods for commerce, or is employed in an enterprise engaged in commerce or the
       production of goods for commerce, for a workweek longer than forty hours unless
       such employee receives compensation for his employment in excess of the hours
       above specified at a rate not less than one and one-half times the regular rate at
       which he is employed.


4
  The court also takes judicial notice of the Arbitration Decision. Because its accuracy cannot be
reasonably questioned, as it included the participation of both parties, any dispute as to its existence
is unreasonable. See Fed. R. Evid. 201(b).
                                                  11
     3:21-cv-02328-SAL          Date Filed 09/02/22     Entry Number 23        Page 12 of 21




29 U.S.C. § 207(a)(1) (emphasis added).

   To establish a successful claim for uncompensated overtime wages, “a plaintiff must provide

sufficient factual allegations to support a reasonable inference that he or she worked more than

forty hours in at least one workweek and that his . . . employer failed to pay the requisite overtime

premium for those overtime hours.” Hall v. DIRECTV, LLC, 846 F.3d 757, 777 (4th Cir. 2017).

The Fourth Circuit explained this requires “more than merely alleg[ing] that they regularly worked

in excess of forty hours per week without receiving overtime pay” but cautioned plaintiffs are not

required “to identify a particular week in which they worked uncompensated overtime hours.” Id.

(internal citations omitted).

   Specifically, Plaintiffs “‘must provide sufficient detail about the length and frequency of their

unpaid work to support a reasonable inference that they worked more than forty hours in a given

week.’” Id. (quoting Nakahata v. N.T.-Presbyterian Healthcare Sys., Inc., 723 F.3d 192, 201 (2d

Cir. 2013)). To meet this standard, Plaintiffs can estimate “the length of [their] average workweek

during the applicable period and the average rate at which [they were] paid, the amount of overtime

wages [they] believe [they are] owed, or any other facts that will permit the court to find

plausibility.” Id. (quoting Landers v. Quality Commc’ns, Inc., 771 F.3d 638, 645 (9th Cir. 2014),

cert denied, 575 U.S. 979 (2015).

   Though Plaintiffs style their claim as one for unpaid overtime, they merely restate the elements

of an overtime claim under FLSA. See [ECF No. 1-1, ⁋⁋ 30–32]. The facts on which they base

their unpaid overtime claim do not indicate a true challenge to unpaid overtime. Instead, the facts

suggest they seek payment for non-hourly work for which they are compensated on a mileage




                                                 12
     3:21-cv-02328-SAL          Date Filed 09/02/22       Entry Number 23         Page 13 of 21




basis. Plaintiffs allege Defendant “has engaged in a pattern and practice of not paying its drivers”

for the following duties:

        (1) [T]he drivers’ start work time, which includes the first half hour of each
        workday with duties including building the loads and pre-staging the loads that will
        be delivered by the drivers, and (2) the conclusion of work time when the drivers
        return to the facility and are required to perform an end of shift work routine,
        including completion of the mileage sheet and turning it in to the dispatch office,
        which is required daily.

Id. ⁋⁋ 9, 10. The only other fact related to this unpaid work is “Defendant still requires the Plaintiffs

to punch in with a timeclock and perform services for the benefit of Defendant and yet not pay

[them] wages for those mandatory duties.” Id. ⁋ 11.

    Not only do these facts fail to establish a plausible overtime claim under FLSA, they clearly

indicate a rehashing of the same arguments rejected by the arbitrator in his decision. Indeed, the

arbitrator clearly outlined the basis of the Plaintiffs’ grievance:

        This grievance involves certain drivers at the Columbia Air Hub who are paid on a
        mileage basis for their driving time. They claim that they should receive separate
        additional pay on an hourly basis for other parts of their work. The Company agrees
        with the Union that some work outside of driving time such as shifting, fueling, and
        washing must be, and already is, paid at the hourly rate. The remaining disputed
        work is referred to as start work and finish work, mainly pre-trip and post-trip
        inspections.

[ECF No. 15-6, p. 10 (emphasis added)]. The arbitrator ultimately decided, absent a side agreement

or past practice, Plaintiffs were appropriately paid under “the Article 43 Guidelines making start

and finish work compensable under the mileage rate for Premium Service Drivers.” Id.; see also

[ECF No. 15-5, p. 4 (“Pre-trip, post-trip inspection, start and finish shall be part of the applicable

mileage rate.”)]. Plaintiffs do not even acknowledge they are paid a mileage rate in their Amended

Complaint and, instead, superficially assert Defendant does not compensate them for this work.

Again, this court is bound by the arbitrator’s decision on this issue, and he ruled Plaintiffs are paid


                                                   13
     3:21-cv-02328-SAL         Date Filed 09/02/22       Entry Number 23        Page 14 of 21




for this work. Consequently, because Plaintiffs actually base their overtime claim on the manner

in which they are paid under the CBA, and not on facts suggesting they worked overtime hours

for which they were not paid, the court GRANTS Defendant’s dismissal motion with respect to

this claim.

       2. Plaintiffs Fail to Plead Retaliation Claim Under FLSA

   Plaintiffs’ retaliation claim also fails to survive dismissal. Section 215 of FLSA makes it

unlawful for any person

       (3) to discharge or in any other manner discriminate against any employee because
       such employee has filed any complaint or instituted or caused to be instituted any
       proceeding under or related to this chapter, or has testified or is about to testify in
       any such proceeding, or has served or is about to serve on an industry committee[.]

29 U.S.C. § 215. To establish a prima facie case of retaliation, Plaintiffs “must show that (1) [they]

engaged in activity protected by the FLSA; (2) [they] suffered adverse action by the employer

subsequent to or contemporaneous with such protected activity; and (3) a causal connection exists

between the employee’s activity and the employer’s adverse action.” Darveau v. Detecon, Inc.,

515 F.3d 334, 340 (4th Cir. 2008) (citing Wolf v. Coca-Cola Co., 200 F.3d 1337, 1342–43 (11th

Cir. 2000)). Internal complaints may constitute protected activity so long as they are “sufficiently

clear and detailed for a reasonable employer to understand it, in light of both content and context,

as an assertion of rights protected by the statute and a call for their protection.” Minor v. Bostwick

Lab’ys, Inc., 699 F.3d 428, 439 (4th Cir. 2012) (quoting Katsen v. Saint-Gobain Performance

Plastics Corp., 563 U.S. 1, 14 (2011)). The court assumes without deciding Plaintiffs have

adequately pleaded the second and third elements of their retaliation claim. However, the court

finds that Plaintiffs fail to plausibly allege their union grievances constituted protected activity

under FLSA.

                                                 14
     3:21-cv-02328-SAL         Date Filed 09/02/22      Entry Number 23        Page 15 of 21




   Again, Plaintiffs must plead enough facts to plausibly suggest their grievances constituted

protected activity under FLSA. Other than “seeking correct wage payment,” Plaintiffs provide no

details concerning the subject matter of their grievances. Indeed, the only facts relating to the

contents of Plaintiffs’ grievances come from the Arbitration Decision: “This grievance involves

certain drivers . . . who are paid on a mileage basis for their driving time. They claim that they

should receive separate additional pay on an hourly basis for other parts of their work.” [ECF No.

15-6, p. 10]. And therein lies the problem. Plaintiffs’ grievances at arbitration centered around a

dispute with the CBA’s compensation provisions, and now, in their Amended Complaint, they

offer nothing but the same facts to support an FLSA claim. The court GRANTS Defendant’s

dismissal motion finding Plaintiffs failed to state a plausible retaliation claim. See Katsen, 563

U.S. at 14 (“To fall within the scope of the antiretaliation provision, a complaint must be

sufficiently clear and detailed for a reasonable employer to understand it . . . as an assertion of

rights protected by the statute and a call for their protection.”) (emphasis added).

   B. Plaintiff’s State Law Claims

   In their Amended Complaint, Plaintiffs bring three claims pursuant to South Carolina state

law. First, Plaintiffs argue that Defendant violated their rights under the South Carolina Payment

of Wages Act. [ECF No. 1-1, ⁋⁋ 40–45]. Second, Plaintiffs bring a promissory estoppel claim for

damages, including “proper income and reimbursements, back pay, lost retirement contributions

and accrual, future damages, and any other economic or equitable remedies available, including

but not limited to specific performance and reclassification of the position.” Id. ⁋⁋ 25–29, p. 8.

Last, Plaintiffs bring a quantum meruit claim requesting damages including the “full value of the

services rendered by [them] from the time when [they] began such unpaid morning duties, to



                                                 15
     3:21-cv-02328-SAL        Date Filed 09/02/22      Entry Number 23        Page 16 of 21




include lost income and reimbursements, back pay, lost retirement contributions and accrual,

future damages, and pre-judgment interest.” Id. ⁋⁋ 30–34, pp. 8–9.

   Defendant argues all three of these state law claims are preempted by Section 301 of the

LMRA. The court agrees.

       1. Section 301 of the LMRA Preempts Plaintiffs’ SCPWA Claim

   Plaintiffs bring a claim under SCPWA alleging that “Defendant required Plaintiffs to work ‘off

the clock,’ and did not pay them for all services rendered for the benefit of Defendant.” [ECF No.

1-1, ⁋ 42]. Plaintiffs further allege “defendant failed to pay [them] for time worked, which they

are entitled to receive in a timely fashion in the next paycheck after the hours were worked, as

required by S.C. Code Ann. § 41-10-40 and -50.” Id. ⁋ 43. Defendant argues this claim “is

preempted by Section 301 of the LMRA.” [ECF No. 15-1, p. 16].

   Section 301 of the LMRA provides “[s]uits for violation of contracts between an employer and

a labor organization representing employees in an industry affecting commerce . . . may be brought

in any district court in the United States having jurisdiction of the parties” without regard to the

requirements of diversity jurisdiction. 29 U.S.C. § 185. The Supreme Court has determined that,

in addition to granting subject matter jurisdiction, Section 301 provides federal courts a duty to

develop a federal common law of labor rights. Livadas v. Bradshaw, 512 U.S. 107, 122 (1994)

(citing Textile Workers v. Lincoln Mills of Ala., 353 U.S. 448, 455–56 (1957)). As a result, courts

often find state law claims preempted because of the primacy of federal labor law.

   However, Section 301 “cannot be read broadly to pre-empt nonnegotiable rights conferred on

individual employees as a matter of state law,” and “it is the legal character of a claim, as

‘independent’ of rights under the collective-bargaining agreement . . . that decides whether a state

cause of action may go forward.” Livadas, 512 U.S. at 123. When the state cause of action



                                                16
     3:21-cv-02328-SAL         Date Filed 09/02/22      Entry Number 23        Page 17 of 21




“requires the interpretation of a collective-bargaining agreement” it is preempted by Section 301.

See Lingle v. Norge Div. of Magic Chef, Inc., 486 U.S. 399, 413 (1988). The Supreme Court

clarified Lingle’s holding in Livadas. Section 301’s preemptive reach extends to state law claims

where the meaning of a contract term is the subject of dispute but not simply when “a collective-

bargaining agreement will be consulted in the course of state-law litigation[.]” Livadas, 512 U.S.

at 124. The Fourth Circuit recognized that Livadas directs a court to start with the legal character

of the state law claim before determining preemption. See Owen v. Carpenters’ Dist. Council, 161

F.3d 767, 773 (4th Cir. 1998).

   The court starts by determining the legal character of Plaintiffs’ SCPWA claim. Plaintiffs

allege Defendant failed to pay them wages for time they were required to work “off the clock.”

[ECF No. 1-1, ⁋ 42]. The SCPWA provides employers shall “pay all wages due.” S.C. Code Ann.

§ 41-10-40; see also S.C. Code Ann. § 41-10-50 (requiring employers to “pay all wages due” to

terminated employees). The SCPWA defines wages as “all amounts at which labor rendered is

recompensed, whether the amount is fixed or ascertained on a time, task, piece, or commission

basis, or other method of [calculation] and includes vacation, holiday, and sick leave payments

which are due to an employee under any employer policy or employment contract.” S.C. Code

Ann. § 41-10-10. The SCPWA provides a private cause of action for an employee when an

employer fails to “pay wages due . . . as required by Section 41-10-40 or 41-10-50.” S.C. Code

Ann. § 41-10-80. This private cause of action allows employees to recover “an amount equal to

three times the full amount of the unpaid wages, plus costs and reasonable attorney’s fees as the

court may allow.” Id.

   Essentially, Plaintiffs’ claim for unpaid wages is based on their allegation that Defendant fails

to pay them for work performed at the start of their day relating to the staging and loading of their



                                                 17
     3:21-cv-02328-SAL         Date Filed 09/02/22       Entry Number 23        Page 18 of 21




trucks and work at the end of their day including completing and turning in their milage sheet.

[ECF No. 1-1, ⁋ 10]. To prove their claim, Plaintiffs must show what wages they were due, which

is directly governed by the parties’ CBA. Not only does this require more than a bare consultation

to the CBA, but it also calls a number of its provisions into dispute.

   The Fourth Circuit dealt with a strikingly similar issue in Barton v. House of Raeford Farms

Inc., 745 F.3d 95 (4th Cir. 2014). The plaintiffs in Barton constituted former and current employees

of the Columbia Farms chicken plant in Greenville, South Carolina. Id. at 99. Just like the Plaintiffs

in this case, the chicken plant employees were paid pursuant to a collective-bargaining agreement

with United Food and Commercial Workers’ Union, Local No. 1996, CLC. Id. The Fourth Circuit

described the plaintiffs’ cause of action under the SCPWA as “based on their claim that Columbia

Farms owed them unpaid wages resulting from its failure to count their hours in accordance with

the employment contracts that were based on what Columbia Farms told them when they were

hired and that stood separate and apart from the CBA.” Id. at 106. The claim arose because the

employees argued their wages should be based on the entire time they spent at work, including the

donning and doffing of protective gear, rather than based on “line time” which is “the time actually

spent by employees processing chickens on the production line.” Id. at 100.

   The Fourth Circuit found the Barton plaintiffs’ theory untenable because “[a]ny wages owed

to the plaintiffs in this case were necessarily those agreed to in the CBA negotiated between the

Union and Columbia Farms.” Id. at 106. And, just as here, the terms of that collective-bargaining

agreement specifically spelled out the parameters governing wages, i.e., the length of employees’

workday, the length of employees’ work week, the amount of break time each employee was

entitled to, etc. Id. The Fourth Circuit concluded by saying “[it] is therefore apparent that the

plaintiffs’ claims under the S.C. Wages Act are nothing other than a disagreement with Columbia



                                                 18
     3:21-cv-02328-SAL        Date Filed 09/02/22      Entry Number 23        Page 19 of 21




Farms’ interpretation of how to calculate their ‘hours worked’ under the CBA[.]” Id. Accordingly,

the Fourth Circuit held that Section 301 preempted the employees’ state law claims “because of

the CBA’s terms and the supremacy of federal law that provides for the CBA’s enforcement.” Id.

   Just as in Barton, Plaintiffs here are subject to a collective-bargaining agreement between

Defendant and their Union that governs the terms of their compensation. As the court noted above,

to prove their claim Plaintiffs would have to show they are due wages for which they did not

receive compensation. Such a dispute necessarily involves the interpretation (not mere

consultation) of the CBA. Accordingly, the court finds that Section 301 of the LMRA clearly

preempts Plaintiff’s SCPWA claim. Therefore, the court GRANTS Defendant’s dismissal motion

and DISMISSES Plaintiffs’ SCPWA claim.

       2. Section 301 of the LMRA Preempts Plaintiffs’ Remaining State Law Claims

   Similarly, the court finds Plaintiffs’ two state common law claims for recovery are also

preempted by Section 301 of the LMRA.

   In South Carolina, “[p]romissory estoppel is a quasi-contract remedy.” N. Am. Rescue

Products, Inc. v. Richardson, 769 S.E.2d 237, 241 (S.C. 2015) (citing Higgins Constr. Co. v. S.

Bell Tel. & Tel. Co., 281 S.E.2d 469, 470 (S.C. 1981)). To make out a successful promissory

estoppel claim, Plaintiffs must show “(1) an unambiguous promise by the promisor; (2) reasonable

reliance on the promise by the promisee; (3) reliance by the promisee was expected by and

foreseeable to the promisor; and (4) injury caused to the promisee by his reasonable reliance.” Id.

(citing Davis v. Greenwood Sch. Dist., 620 S.E.2d 65, 67 (S.C. 2005)).

   Furthermore, South Carolina law provides that “[q]uantum meruit is an equitable doctrine

which allows recovery for unjust enrichment under a quasi-contract theory.” Stevens and

Wilkinson of S.C., Inc. v. City of Columbia, 762 S.E.2d 696, 703–04 (S.C. 2014) (citing Columbia



                                                19
     3:21-cv-02328-SAL         Date Filed 09/02/22      Entry Number 23        Page 20 of 21




Wholesale Co. v. Scudder May N.V., 440 S.E.2d 129, 130 (S.C. 1994)). “The elements of a

quantum meruit claim are: (1) a benefit conferred upon the defendant by the plaintiff; (2)

realization of that benefit by the defendant; and (3) retention by the defendant of the benefit under

conditions that make it unjust for him to retain it without paying its value.” Id. at 704 (quoting

Earthscapes Unlimited, inc. v. Ulbrich, 703 S.E.2d 221, 225 (S.C. 2010)).

   Plaintiffs base both of these claims on Defendant’s alleged failure to compensate them for time

they worked off the clock. See [ECF No. 1-1, p. 8, ⁋ 26 (“Defendant made an unambiguous promise

to pay the Plaintiffs for required work time. This promise is evidenced by the labor manager’s

statements and the rare occasions that Defendant has paid the required work time over the last

three years.”)]; see also [ECF No. 1-1, p. 9, ⁋ 31 (“Defendant has received the benefit of Plaintiffs

performing duties daily including for time that was worked but remains unpaid.”)].

   However, as the court discussed above, the agreements (or promises) to pay Plaintiffs are

exclusively governed by the CBA. To prove their claims under either of these equitable theories,

Plaintiffs must show the disputed compensation provisions of the CBA establish: (1) Defendant

breached its promise to pay Plaintiffs, and (2) Defendant retained an unjust benefit from Plaintiffs’

allegedly uncompensated work. Because the CBA is in actual dispute, Section 301 of the LMRA

preempts these state law claims. Accordingly, the court GRANTS Defendant’s dismissal motion

and DISMISSES Plaintiffs’ remaining state law claims.




                                                 20
    3:21-cv-02328-SAL       Date Filed 09/02/22     Entry Number 23     Page 21 of 21




                                      CONCLUSION

   For the foregoing reasons, Defendant UPS’s Motion to Dismiss, ECF No. 15, is GRANTED

and all of Plaintiffs’ claims are DISMISSED.




   IT IS SO ORDERED.

                                                        /s/ Sherri A. Lydon
                                                        United States District Judge
September 2, 2022
Columbia, South Carolina




                                               21
